     Case 2:08-cr-00173-RHW    ECF No. 348   filed 07/31/09   PageID.1307 Page 1 of 1




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 6
                               UNITED STATES DISTRICT COURT
 7                            EASTERN DISTRICT OF WASHINGTON
 8
       UNITED STATES OF AMERICA,                )
 9                                              )    No. CR-08-173-RHW-4
                        Plaintiff,              )
10                                              )    ORDER GRANTING IN PART
       v.                                       )    MOTION TO MODIFY
11                                              )
       JASON W. LEE,                            )
12                                              )
                        Defendant.              )
13                                              )

14          Before the court is Defendant's Motion to Modify Conditions of

15    Release.

16          IT IS ORDERED that Defendant's Motion (Ct. Rec. 337) is GRANTED

17    in part as follows:

18          1.    The request that Defendant no longer be subject to a

19    curfew is DENIED.

20          2.    The Defendant shall be allowed to spend one day at

21    Silverwood, in Idaho, at a time to be arranged with his probation

22    officer.

23          3.    All other terms and conditions of the prior release order

24    shall remain in full force and effect.

25          DATED July 31, 2009.

26
27                                 S/ CYNTHIA IMBROGNO
                              UNITED STATES MAGISTRATE JUDGE
28


      ORDER GRANTING IN PART MOTION TO MODIFY - 1
